    Case 24-30465-5-wak           Doc 42 Filed 07/25/24 Entered 07/25/24 14:15:55                      Desc Ntc
                                    Late Install Payment Page 1 of 1
                       UNITED STATES BANKRUPTCY COURT
                                      Northern District of New York
In Re: Debtor(s) (name(s) and address)                     )
Thomas William Pritchard                                   )
                                                           )
                                                           )Case Number: 24−30465−5−wak
xxx−xx−9267                                                )
5107 Old Barn Road                                         )
Clay, NY 13041                                             )
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                                                           )Chapter: 7
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                 NOTICE TO DEBTOR(S) REGARDING LATE PAYMENT OF
                            FILING FEE INSTALLMENTS
                YOUR SCHEDULED INSTALLMENT PAYMENT IS OVERDUE
       Your rights may be affected and your case dismissed. Read this Notice carefully and discuss it
       with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
       may wish to consult one.)

       Your application to pay the filing fee in installments pursuant to Fed. R. Bankr. P. 1006(b) was
       granted by order of the court. You are required to pay the filing fee in installments according to the
       terms of the Court order.

       You must pay the filing fee as ordered by the Court, unless the Court extends your payment
       deadline. If you request an extension of your payment deadline, your request must be in writing and
       received by the Court.

       Installment payments must be made by money order or cashier's check made payable to "Clerk,
       U.S. Bankruptcy Court". Please write your name and case number in the money order or cashier's
       check. Payments can be made in person from 9:00 a.m. to 4:00 p.m., Monday through Friday.
       Payments can also be mailed to:

                                                      Clerk
                                              U.S. Bankruptcy Court
                                            James T. Foley Courthouse
                                             445 Broadway, Suite 330
                                                Albany, NY 12207

       If you fail to obey the Court's order and fail to pay the balance of the filing fees as ordered by the
       court, your case may be dismissed.

Date: 7/25/24
